Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 1 of 49

EXHIBIT “A”
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 2 of 49

E-FILED IN OFFICE - AM
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-02961-S1

4/15/2021 4:31 PM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY

 

STATE OF GEORGIA
" KHAI NGUYEN, "wl : oO
Plaintiff, _} > CIVIL ACTION FILE NO.:
+s, : . 21-C-02961-S1
7 a : }. (SERVED WITH DISCOVERY)
_ DONEL WALKER THOMAS, }. _ _
HOLMES COMPANY OF 3
JACKSON, INC., AND SENTRY .
SELECT INSURANCE COMPANY. _}}
}

Defendants. | . |
- COMPLAINT FOR PERSONAL INJURY
COMES NOW, Plaintiff Khai Nguyen, by and through undersigned counsel, and files this .
‘ Complaint for | Injury and shows this Honorable Court the following:
PARTIES, JURISDICTION, AN D VENUE . |
Plaintiff Khai Nguyen = adult and resident of Cobb County, Georgia.

. Detendant Donel Walker Thomas, Chersinatter “Donel Thomas”), is an adult and resident
of the State of Mississippi and domiciled therein at 2852 Wash Bailey Road, Durant, Mississippi
39063. | | |

| 3.

‘ Service upon non-resident motorist Defendant Donel Thomas may be made, pursuant to
0.C.G.A. §§40-12-1 and 40-12-2, by seeviag a copy of the Couiplatnt and Summons on the
Georgia Secretary of State along with a copy of the affidavit to be submitted to the court pursuant
to. O.C.G.A. §40-12-2, by sending a copy of the Complaint, process and notice of service upon

the Georgia Secretary of State by registered or certified mail or statutory overnight delivery by the
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 3 of 49

Plaintiff to Defendant Donel Thomas if his addvess is known, and.by appending Defendant Donel
| Thomas’s return receipt and Plaintiff's affidavit of compliance with 0.C.G.A. §40-12-2 to the
: Suremons or other process filed with the Summons, Complaint and other papers in this court.

. , Defendant, Holmes Company of Tackson, Inc. (“Holmes Company”) is a foreign profit
corporation with ies principal office aditress located at 535 Old Highway 49 South, Richland,
” Mississippi 39218. . Oo |
5.

Holmes Company no be served with the Summons and Caraplaine through its rewiscenedt
agent and managing agent (Director, Secretary and Treasurer) Jackson Holmes or its managing
sent (Director and President), Martin. Holmes located at 535 Old Highway 49 South, Richland,
Mississippi 39218. Eidlimes Company may also be served with the Summons and Complaint
| through process agent The F inancial Integrity Gréup/Dawn Richardson located at 410 East Taylor
Street, Suité G, Griffin, Georgia 30223 for Defendant Holmes Company’s BOC-3 Blanket
Company Truck Process Agents of America, Inc, |

| 6.

a Defendant Sentry Select Insurance Company (hereinafter “Sentry Select Ins. Co.”) is a ,
foreign insurance company with its principal office address located at 1800 North Point Drive, -
Stevens Point, Wisconsin 54481. Sentry Select Ins. Co. may be served with the Summons and
Complaint through its registered agent CT Corporation System located at 289 S. Culver Street,
: . Lawrenceville, Georgia 30046-4805. | |
| | te

Defendant Donel Thomas is subject to the jurisdiction and venue of this Court.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 4 of 49

8.
Defendant Holmes Company is subject to the jurisdiction and venue of this Court..
| 9:
Defendant Sentry Select Ins. Co. is subject to the jurisdiction and venue of this Court
| | FACTUAL BACKGROUND |
10.

On September 24; 2019, Defendant Donel Thomas was operating a fraesae trailer owned ar
leased by Holmes Company on Interstate 85 southbound Abt its’ intersection with Beaver Ruin
Road in Gwinnett County, Georgia.

| i

On September 24, 2019, Defendant Donel Thomas and Plaintiff were traveling southbound:
on Interstate 85 in Gwinnett County, Georgia. Plaintiff slowed his vehicle for traffic, Defendant
Donel Thomas failed to slow down or sop and the front of Donel Thomas’ tractor struck the rear
of Plaintiff’ vehiate: | |

12.
. Defendant Donel Thomas’ vehicle and Plaintiff” s vehicle sustained property darivage asa
" result of the September 24, 2019 collision. . | |
| | LIABILITY OF DEFENDANTS

; 13.

At the time of the September 24, 2019 collision, Defendant Donel Thomas followed .
Plaintiff more closely ‘than what is reasonable and prudent, drove too fast and at an unreasonable.
eed for the conditions then existing, disregarded the actual and potential hazards then existing,

failed to maintain proper control over his vehicle, failed to maintain a proper lookout, drove

3
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 5 of 49

recklessly, milled to give Reese and seep warning, failed to yield the right of way, and/or
failed to exercise ordinary care — the circumstances. Hen existing.

14.

‘Defendant Donel Thomas’ negligence, negligence per se, and recklessness prontinately
caused the September 24, 2019 collision between Defendant Donel Thomas’ vehicle and Plaintiff's
vehicle vihicht seulted in the impact between Defendant Donel Thomas’ vehicle and Plaintiff's _
vehicle. 7 |

15.

“At ‘ie time of the September 24, 2019 collision between Defendant Donel Thomas’ vehicle .
and Plaintiff's vehicle, Defendant Donel Thomas was ant employee and/or agent of Holmes
Company and was acting within the scope of his-employment or agency relationship with
Defendant Holmes Company. . |

16. |
Defendant Holmes Company is vicariously liable for the negligent and reckless acts and .
omission of Defendant Donel Thomas on September 24, 20 19.
| | 17. |

Defendant Holmes Company is independently liable for the negligent hiring, training,

and retenticin of Defendant Donel Thomas. | -
18.

Defendant Holmes Company i is 5 iagevendently liable for the negligent entrustment of the

vehicle involved i in the September 24, 2019 collision to Defendant Donel Thomas.

19.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 6 of 49

‘ As a direct and proximate ‘Sect of the negligence, negligence per se, and recklessness of
Defendant Donel Thomas and the negligence and recklessness of Defendant Holmes Company,
Plaintiff sustained eins and permanent — nad, as a posult, Plaintiff has sustained great.
pain in both mind-and body, and will continue to suffer pain'now and in the future. |

- | | 20.. |
. As a direct and presente result of the negligence, negligence per se, and recklessness of
Defendant Donel Thomas and the negligence aid recklessness of Defendant Holmes Company, |
: Plaintiff has incurred medical and other expenses and will continue to. incur medical and other
. expenses in the future. | - :
| | 21..
“As a direct and ptoxiniate renute of the negligence, negligence per und eolesnes of
‘Defendant Donel Thomas and the negligence and recklessness of Defendant Holmes Company,
“Plaintiff has lost earnings and will continue to lose earnings in the future. a
, , ‘ ” - |

Defendant Sentry Select Ins.:Co. issued a sity of insurance to-Defendant Holmes
Company that provides coverage to Defendants ™ to the policy’s limits subject to the toems,
conditions, definitions and exclusions of the policy with respect to the ‘September 24, 2019
| ‘collision between Plaintiff and Defendant Donel Thomas. | |

- | 23.

Defendant Sentry Select Ins. Co, is subject to direct action for. the September 24, 2019

- collision.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 7 of 49

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following:

og
b)

c)

d)

This 15" day of April, 2021. °.

That Defendants be served with process required by law; .

That Plaintiff be granted a trial by jury;

That Defendants be found liable for general and special damages sustained by

. Plaintiff due to the negligence, negligence per se, and recklessness of the Defendant

Donel Thomas and Defendant Holmes Company of Jackson, Inc.;:

That Defendants be:found liable for all court costs associated with this action and

for all other costs and damages to be determined by this Court;

That Plaintiff be awarded damages in such sums as this Court and jury shall find

"appropriate based upon the evidence submitted at the time of trial; and

That Plaintiff be granted such other and further relief as this Honorable Court may

deem as necessary and proper.

THE BROSNAHAN LAW FIRM

/s/ Kenmeth Brownahaw
Kenneth W. Brosnahan; Esq.
Georgia State Bar No. 086345.
. E-mail: kwb@brosnahan-law.com
Linda G. Carpenter, Esq.
Georgia State Bar No. 111285 - -
'. E-mail: Ige@brosnahan-law.com

.31 Lenox Pointe, N.E. é Sharon L. Neal, Esq.

- Atlanta, Georgia 30324. , . Georgia State Bar No. 536060 ~~
Tel: (404) 923-7570 E-mail: sharon@brosnahan-law.com

Fax: (678) 904-6391 Attorneys for Plaintiff Khai Nguyen —
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 8 of 49

E-FILED IN OFFICE -AM

“CLERK OF STATE COURT

. : : , GWINNETT COUNTY, GEORGIA

| a | -" -24.6.02961-S1
IN THE STATE COURT OF GWINNETT COUNTY 4/15/2021 4:34 PM

TIANA P. GARNER, CLERK

 

 

 

 

 

 

 

| STATE OF GEORGIA
" KHAI NGUYEN .
CIVIL‘ACTION 2, ~ acoee ea!
. NUMBER: at-C-0e6t $1
PLAINTIFF
LS,
DONEL WALKER THOMAS, HOLMES COMPANY
OF JACKSON, INC., AND SENTRY SELECT
INSURANCE COMPANY:
' DEFENDANT
‘SUMMONS
‘ ‘TO THE ABOVE NAMED DEFENDANT; Donel Walker Thomas

2852 Wash Bailey Road, Durant, Mississippi 39063 -

You are hereby summoned and required to fi le with the Clerk of said. court and serve upon the Plaintift’s attorney, whose name
and address is:.

Kenneth W. Brosnahan, Esq.

- Sharon L..Neal,-Esq. -

31 Lenox Pointe, N.E.0

‘Atlanta, Georgia 303240 - . co

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. i you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This 15TH - day of APRIL Jone y 2021

; Tiana P.Garner -
Clerk of State Court

 

 

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 9 of 49

E-FILED IN OFFICE- AM

 

 

 

 

 

 

 

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
IN THE STATE COURT OF GWINNETT COUNTY 21-C-02961-S1
4/15/2021 4:31 PM
mo ' TIANA P, GARNER, CLERK
STATE OF GEORGIA
KHAI NGUYEN
CIVIL ACTION
NUMBER: 21 -C-02961-S1
_PLAINTIEF
" DONEL WALKER THOMAS, HOLMES COMPANY
OF JACKSON, INC., AND SENTRY SELECT
INSURANCE COMPANY |
DEFENDANT
SUMMONS

- Polinés Company of Jackson, Inc. c/o Jackeon Holmes (registered agent, Director, Secretary &

. Treasurer) or c/o Martin Holmes (Director & President)
FO THE ABOVE NAMED DEFENDANT: 535 Old Highway 49 South, 535 Old Highway 49 South, Richland, Mississippi 39218

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name

* and address is:

‘Kenneth W. Brosnahan, Esq.
Sharon L. Neal, Esq.

. 31 Lenox Pointe, N.E.0 . ey
Atlanta, Georgia 303240 os - ff

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This 18TH day of APRIL . : 5 2021

Tiana P. Garner
Clerk of State Court

  

 

 

. hepuity Clerk .
INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 10 of 49

E-FILED IN OFFICE - AM

CLERK OF STATE COURT
. oe . Ht . . GWINNETT COUNTY, GEORGIA

Th : INT 21-C-02961-S1
IN THE STATE COURT OF GWINNETT COUNTY iepnor aon

“TIANA P. GARNER, CLERK

 

 

 

 

 

 

 

STATE.OF GEORGIA .
~ KHAI NGUYEN
“CIVIL ACTION
| NUMBER: 21 602961 S1
PLAINTIFF
VSios

DONEL WALKER THOMAS, HOLMES COMPANY

OF JACKSON, INC., AND SENTRY SELECT
. INSURANCE COMPANY ~ .

‘. DEFENDANT |
SUMMONS

a ‘Sentry Select Insurance Company c/o CT Corporation System
TO'TEE BEOYE NAMED DEFENDANT: 289 S. Culver Street, Lawrenceville, Georgia 30046-4805

. You are hereby summoned and required to file with the Clerk of said court and serve upon ‘the Plaintiff's attorney, whose name
and address is:

Kenneth W..Brosnahan, Esq.

Sharon L. Neal,Esq.

31 Lenox Pointe, N.E.0 .

Atlanta, Georgia.303240 co
an answer to the complaint:which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will-be taken against you for the relief demanded in the complaint.

 ghis__ 15TH day of___- APRIL _, 2021

Tiana P. Garner ;
. Clerk of State Court

   

: Peat Clerk
INSTRUCT TONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 11 of 49

E-FILED IN OFFICE - AM
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-02961-S1

~ 4/15/2021 4:31 PM
TIANA P. GARNER, CLERK

_IN THE STATE COURT OF GWINNETT COUNTY

 

STATE OF GEORGIA
KHAI NGUYEN, }
_ Plaintiff, } ‘CIVIL ACTION FILE NO::
ve 21-C-02861-81
. . } (SERVED WITH SUMMONS AND »
_ DONEL WALKER THOMAS, } COMPLAINT)
HOLMES COMPANY OF }
JACKSON, INC., AND SENTRY }
SELECT INSURANCE COMPANY}
Defendants. }

PLAINTIFF'S COUNSEL’S NOTICE OF LEAVES OF ABSENCE

COMES NOW Plaintiff's attomey Sharon Leah Neal, Esq., and submits this Notice of
Leaves of Absence to'the Clerk of Court and counsel of record, pursuant to Uniform Superior/State
Court Rule 16.1. Plaintiffs counsel will be absent from the practice of law and submits this request
to be excused from all proceedings including trials, hearings and depositions in the above--

referenced matter during the following dates:
DURATION OF REQUESTED LEAVE OF ABSENCE REASON

 

 

 

 

 

 

 

 

1 | July 5, 2021 (Mon) though July 12,2021 (Mon) __. Vacation
2} October 7, 2021 (Thurs) through October 8, 2021 (Fri) Vacation.
3 | December 27, 2021 (Mon) through January 4, 2022 (Tues) Vacation

 

All affected judges and opposing counsel shall have ten days from the date of this Notice

of this Notice to object to it. Ifno objections are ’filed, the leave shall be granted.

This 15 day of April, 2021 and to be served by the process server with the Summons
and Complaint.

THE BROSNAHAN LAW FIRM

/si Sharow Neal
Sharon L. Neal, Esq.
Georgia State Bar No. 536060
oS _ E-mail: sharon@brosnahan-law.com
31 Lenox Pointe, N.E. Attorney for Plaintiff

' Atlanta, Georgia 30324 .

Tel: (404) 853-8964

Fax: (678) 904-6391
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 12 of 49

E-FILED IN OFFICE - AM
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA |
21-C-02961-S1

4/15/2021 4:31 PM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY

 

‘STATE OF GEORGIA
KHAI NGUYEN, y :
_ Plaintiff, _} > CIVIL ACTION FILE NO::
vs. 7 24-C-02961-S1 |
_ | a }  GERVED WITHSUMMONS AND __
- DONEL WALKER THOMAS, } COMPLAINT)

HOLMES COMPANY OF 3
JACKSON, INC., AND SENTRY }.
SELECT INSURANCE COMPANY}

_ Defendants. _ Jj

PLAINTIFF'S FIRST REQUESTS FOR ADMISSION, INTERROGATORIES AND __
i REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS
_ COMES NOW, PLAINTIFF KHAI NGUYEN (“Plaintiff”), by and through counsel,
and, pursuant to O.C.G.A.: 85 9- 11-26, 9- Ut 33, 9-11-34, and 9- 11-36 submits Werenwhity to -
Defendants the following written HET requests:

° Plaintiff's Requests for Admissions to all three ‘Defendants;

ve Plaintiff's Tntbcropavacies to DEFENDANT DONEL WALKER THOMAS a
“Defendant Donel Thomas” and/or : “Defendant Driver” _ and/or “Defendant Driver

’ . Thomas”).

© Plaintiff's sirogmor to DEFENDANT HOLMES COMPANY OF JACKSON,
ENC. (hereinafter “Defendant Holmes Company” and/or “Defendant Company”);

. .¢. Plaintiff's Interrogatories to DEFENDANT SENTRY SELECT INSURANCE ,
ME SEY (hereinafter “Insurer” and/or “Sentry Select Ins. Co. ") and

e Plaintiff's Requests for Production of Documents to all three Defendants.
Defendants’ Answers to to these: Requests for Admission, Interrogatories, and Requests for
Production shall be served upon the attorneys for Plaintiff at The Brosnalian Lave Firm no later |
ihe forty-five (45) days after service, or at any hearing or deposition in the shove matter

" which is scheduled prior to the 45th day after service:
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 13 of 49

PLAINTIFF ’S FIRST REQUESTS FOR ADMISSIONS .
TO ALL DEFENDANTS .

L,
. Admit that ‘Défendant-Driver Thomas lives af a residence located at 2852 Wash Bailey
Road, Durant, Mississippi39063. ° | |
- “2
- ‘Admit that Defendant Driver Thomas was properly served with’ the Summons - and
: Complaint in this case.
3.
- Admit that process was sufficient with respect to Defendant Driver Thomas in this case.”
4, | | |
. Admit that Defendant Driver Thomas is subject to the jurisdiction of this Gout.
Admit that venue in this Court is proper as to Defendant Driver Thomas. .
6. |
. Admit that Defendant Holmes Company is a company with its principal office address
located at 535 Old Highway 49 South, Richland, Mississipi 39218. |
7.
Admit that Defendant Holmes Company may be served with the summons and complaint
through its registered agent and managing agent (Director, Secretary and Treasurer) Jackson

‘ Holmes. .
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 14 of 49

. Admit that Defendant Hotines Company may be served with the summons and complaint
through its managing-agent (Director and President) Martin Holmes. |
Admit that Defendant Holmes Company may be served with the summons and complaint
‘through process agent The Financial Integrity Group/Dawn Richardson-located at 410 East Taylor .
. Street, Suite G, Griffin, Geordie 30223 for Defendant Holmes ‘Company’s BOC-3 Blanket .
| Company Truck Process Agents of Annetied, Inc. | .
| | | “10.
Admit that Defendant Holmes Company _ properly. served with the Summons and
Garaplut in this case. )
| UL
Admit that process was sufficient with respect to Defendant Bolnes Company in this.case.
Admit that Defendant Holmes Company is subject to the jutisdiction of this Covi,
4 13.
Admit that venue in this Court is proper as to Defendant Holmes Company.
| 4
. . _ Admit that the Defendant Sentry Select Ins: Co. isa foreign insurance company with its
principal office address located at 1800 North Point Drive, Stevens Point, Wisconsin 54481.
5 | |
' Admit the Defendant Sentry Select Ins. Co. may be. seeved with the summons and
complaint through it registered agent CT Chrpacadion System, located at 289 S. Culver Street,

Lawrenceville, Georgia 30046-4805.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 15 of 49

a 16.
Admit that the Defendant Sentry Select Ins. .Co.. - properly served with the Summons
and Complaint in this case. | | | |
| 17.
- . Admit that — was sufficient with respect to the Defendant Sentry Select lis, Co. in:
this case. | | | 38 :
18.
Admit that the Defendant Sentry Select Ins. Co. is subject to the jurisdiction of this Court.
| 19. _— | |
X | Admit that venue in this Cause is proper as.to the Defendant Sentry Select Ins. Co.
20. |
Admit that as a proximate result of the collision, Plaintiff's vehicle ssrainda property ~
damage. | . o
| 2h
~ Admit that as a proximate result of the September 24, 2019 collision, the tractor that
Defendant Driver Thomas was ponlniy sustained property damage. |
: 22. ’
Admit that'on September 24, 2019, Defendant Driver Thomas site eperatie a tractor
trailer owned by. the Defendant Holmes‘Company. . / - |
| 23.07
Admit that on ‘September 24, 2019,. Defendant Driver Thomas was operating a tractor

trailer leased or rented by Defendant Holmes Company. ~
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 16 of 49

| 24,
Admit that on September 24, 2019, Defendant Driver ‘Thomas was operating the tractor
within the course and scope of his employment with Defendant Holmes Company. 7
| - - 25. | 3

Admit that on September 24, 2019; Defendant Driver Themes was operating the tractor in

furtherarice of the business of Defendant Holmes Company. | | |
| | oe | 26. .
_ Admit that on September 24, 20 19, Defendant Driver Thomas was operating the tractor
with she kiowiedgp and.consent of Defendant Holmes Company. . re
| 27: |

Admit that on September 24, 2019, Plaintiff was operating a vehicle traveling southbound

on Interstate 85 in Gwinnett County, Georgia.
| | 28.

Admit that on Septembér-24, 2019, Defendant Driver Thomas was operating a tractor

trailer on Interstate 85 southbound in Gwinnett Somiy, Genneite 7
| oe 29. |

Admit that on September 24, 2019, Plaintiff slowed down.on Interstate 85 southbound due

_ to traffic. owe
30,

~ Admit that on September 24, 201 9, Plaintiff stopped on.Interstate 85 southbound due to
. traffic. ©

31.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 17 of 49

Admit that on September 24, 2019, the tractor operated by Defendant Driver Thomas came -
- into contact with Plaintiff's velit | - :
| 32.
Admit that on’ September 24, 2019, the front of the tractor operated by Defendant Driver
. Thomas came into contact with the rear of Plaintiff's vehicle. oe
3.

mit that as‘a aackk of the September 24, 2019 collision, Plaintiff's vehicle sustained :

property damage. a | -
34. |
Admit that as a result of the September aA, 2019 » collision, the tractor operated by -

Defendant Driver Thomas sustained property damage.

35.

Admit that as a result of the September 24, 2019 collision, Plaintiff suffered bodily injuries. " ah

36..
Admit that the September 24, 2019 eallisten % was proximately: eansed by the negligence of

- Defendant: Driver Thomas.

37.
Admit that the September 24, 2019 collision: was not proximately caused by any negligence

of Plaintiff. : .
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 18 of 49

a

INTERROGATORIES TO DEF ENDANTS

Definitions and. Instructions

- You are required to answer all following Interrogatories separately and fully in writing and -

under oath within forty-five (45) days of service.

These Interrowataries are continuing in character, so as to require you to file supplemental
answers if you obtain further or different information before trial.

: Where the name or identity.of a person is requested, please state the full name, home
.address, business.address; home telephone number, cell telephone number, and business

telephone number.

Unless otherwise ind icated, ‘these Interrogatories refer to the time, place, and ci circumstances
of the auto accident mentioned or complained of in the pleadings.

. Where’ knowledge or information in possession of a party ta requested, such request

_includes knowledge. of the. party's agents, representatives, and, unless privileged, the

li.

party’s attorneys. When answer is made by a corporation or other legal entity, state the
name, address, and title of the person supplying the information, and making the affidavit,

and the source of this information.
These Interrogatories shall include the following definitions: _-

Any request to identify any. record, documents, or writing shall include identification
as to: (a).the date the same was dated or otherwise prepared; (b) the name, address, and
title of the person preparing same; (c) the name, address, and title of the person for and
to whom the'same was prepared and addressed; (d) the name, “address, and title of all
persons to whom copies of the same were furnished or otherwise forwarded; (e) the
‘title and other identifying designation given the same; (f) the subject matter and content
of the same; and (g) the | name, address, and location and title of the person having

possession.

The p pronoun "you" refers to the party to wim these Interrogatories are. addressed, its
agents, servants, employees, representatives, officers, or anyone acting for or on behalf

. of that party.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 19 of 49

"PLAINTIFF'S FIRST SET OF INTERROGATORIES TO
THE DEFENDANT DRIVER THOMAS ONLY —

— . 4d

Please state the following for THE DEFENDANT DRIVR THOMAS:

(a) full legal name; | . | | a

(b) social security number;

, (c) residence addresses for past three years; and
() name and address of current and former employers from September 1 2009 to present;
, ,

Please describe fully. and completely how the-alleged.occurrence happened including, but
not limited to, when Defendant first saw the vehicle being occupied by Plaintiff around the time
of the collision and all acts/actions or — done by the Plaintiff that Defendant observed. °

Please describe in detail any and all conversations with.or words by Plaintiff and the —

investigating officer after the collision referenced in.the Complaint. —

State the name, address and telephone numbers. of all persons, including any party, who, .

to your kiiowledge, information or belief:
(a): Was an eyewitness to the incident complained of i in this action;

_-(b) Who arrived at the scene of the occurrence ‘complained of in ths action immediately o or
shortly after its occurrence

. (c) Has any knowledge of any fact or circumstance upon which this Complaint or your
defense is based including knowledge of the circumstances of the collision and.

Plaintiff's injuriesidamages;

| (d) Has conducted any investigation relating to the incident complained of or related to the
‘background, employment, medical history or activities of Plaintiff.

8
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 20 of 49

(e) Has given or prepared any verbal, written or ee statement — the collision

referenced i in the complaint.
3

For each person whom Defendant expétis to eal ag’ an expert vditness at the trial of this
lawsuit, please state the following: :

(a) Each person’s name and enployer or company; —

(b) Each person’s office address and specialty; |

(c) ._ State the subject matter on hia ta said persons are expected to testify; and

(d), State in detail the substance of the facts and opinions to which each person ‘is
expected to testify.

(e) State a complete summary ‘of the grounds for each opinion held as provided i in
0.C.G.A. § 9-11-26. ,

6.

" Please state the phone numbers, cell phone servins provides, and vais of sce holders
for. all cellular telephones Defendant Driver Thomas owned or used on the date of the accident at
issue in this lawauit.
. 7.

Was Defendant Diiver Thomas using the phone at any time in any manner during the time

period of - minutes before until 5 minutes after the collision at issue in this lawsuit? | |
. 8. = A

For any citations issued to Defendant Driver Thomas as a result of the motor vehicle
poeident which is the subject of this litigation; please state whether Defendant Driver Thomas pled
guilty to the citation(s), what charge(s) Defendant Driver Thomas plead guilty to, whether Hie paid

- a fine; ‘and whether Defendant Driver Thomas forfeited bond.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 21 of 49

8
(a) Had Defendant Driver Thomas sonmumned sayintoieating beverages, ingested any -
: medicines, whether legal or illegal, stimulants, depressants, chemicals, ee .
cannabis or drugs within the forty-eight (48) hour period immediately preceding
-the occurrence of the vehicular incident which jis the subject of this lawsuit?
(b) If so, state-all substances, the time and place at which each was consumed, and the

amount on each occasion.

. 10.

. : 7 Have you Defendant Driver Thomas ever been arrested or charged with a crime,. -

mifsdleriéande or felony, whether convicted or not? If so, state the date and alace of. susliarren a

description of the infraction of law for which the diver was arrested or charged as well as the |
luriediedione in witch ties charge occurred, and-date of disposition,
| | -. TL - |

Bove you Defendant Driver Thomas ever had a driver’s license (includes a CDL)

suspended, canceled, or revoked? Please’state the namie of the state of suspension, cancellation, or

revocation for such figenke, the date of such siespension, cancellation, or revocation, and the reason

therefore. |
12.

"Please describe each audio or video récording, photograph or other representation or
depiction of the accident at issue in this lawsuit [including the collision, the vehicles (car, tractor,
trailer, etc:), the drivers].

13,

10°
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 22 of 49

(A) Did Defendant Holmes Company or any other entity conduct or obtain a post-accident
alcohol and controlled substance test on Defendant Driver Thomas for the collision velco in
the complaint?

(B) If so, please state: (1) date of testing; (2) who performed the testing; (3) where the test
was performed; and (4) results of the test.

| | 14.
Did Defendant Driver Thomas have any medical conditions that would inhibit the ability
to operate a motor vehicle (tractor trailer) including the requirement to wear prescription glasses?
5 ; ;
‘ Please state in detail the factual basis of each defense you have raised in your answer.
6. |
If Defendant Driver Thomas has ever been a party to a civil suit, please state: -
(a) If Defendant Driver Thomas was a plaintiff or defendant;
(b) the Court in which said suit was filed;
(c) the nature of the action and
. | (d) the outcome of the action. ”
17.

Please list each document and tangible piece of evidence which Defendant:contends are
relevant evidence in support of Defendants’ defenses or Plaintiff's claims in this action, including,
but not limited to, the namie Be other means of identifying each such docmett, a description of
the nature and content of each document, as well as the name, address and telephone number of

the person who has custody of each document.

Il
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 23 of 49

PLAINTIFF’S FIRST SET OF INTERROGATORIES
TO DEFENDANT HOLMES COMPANY. ONLY

1.
Please explain the nature of the employment relationship or contract relationship been
Defendant Driver Thomas and Defendant Holmes Company on the date of the collision referenced
in the Complaint (i.e. lease operator, company/employee driver, temporary driver, etc.), including the
date the aenplajmnent relationship began, if the employment relationship has been semainated, the date
of ‘such termination, and the identity of the person who terminated sch driver. :
2.
State the extent of any training provided to Defendant Diiver Thomas by Defendant Holmes
Compas ‘or any outside agency since the first date Defendant Holmes Company obtained
Defendant Driver Thomas ’s application for employment/contract or the first date Defendant Driver

‘ Thomas began driving for Defendant Holmes Company (which ever date came first).

3,
” State the point of origin, destination and reason for.the trip being made by Defendant Driver

Thomas at the time of the incident referred to in the Complaint.

, 4.
(A) Did Defendant Holmes Company or any other entity conduct or obtain a post-accident

alcohol and controlled substance test on Defendant Driver Thomas for the collision referenced in

the complaint?

(B) If so, please state: (1) The date of testing; (2) Who performed the test; (3) Where the

test was performed; and (4) The results of the test.

12
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 24 of 49

State the name, address and telephone numbers of all-persons, including any party, who,
to your knowledge i information or belief:
(f) Was an eyewitness to the incident i a of in this action;

'

(g) Who a at the scene of the occurrence ‘complained of in this action immediately or .
shortly after its occurrence

* (h) Has any knowledge of any fact or circumstance upon which this Complaint or your
' defense is based including knowledge of the circumstances of the collision and
Plaintiff's injuries/damages;

(i) Has conducted any investigation relating to the incident complained of or related to the
background, employment, medical history or activities of Plaintiff.

(j) Has given or prepared any verbal, written or reourded statement regarding the e oullision
referenced in the complaint.

>. 6.

State whether the fesotot trailer involved in the collision contained or utilized an ori-board
mosirdling device, an on-board computer, tachograph, trip monitor, trip renaetler, trip master,
Qualcomm, Vorad, ECM, GPS or device known ‘by any other name which records information
ee the operation of the van. |

7.
" For‘each person whom Defendant Holmes Company expects to call as an expert witness at
the trial of this lawsuit, please state the following: |

(f) Each person’s name and employer or company;

(g) Each person’s office address and specialty; .

‘(h) State the subject matter on which said persons are expected to testify; and

(i) State in detail the substance of the facts and opinions to which each person is
expected to testify.

(Gj) "State a complete summary of the grounds for each opinion held as provided in

13
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 25 of 49

- O.C.G.A. § 9-11-26.

8.

Please state the phone numbers, cell shone service provides, and names of account holders
for all cellular telephones Defendant Driver Thomas owned or used during the month of the subject
accident.

9.

If Defendant Driver Thomas was issued any citations as a result of the motor vehicle
accident which i is the subject of this litigation, please state whaihiet Defendant Driver Thomas pled
autley to the citation(s) and, if so, shat charge(s) did Defendant Driver Thomas plead guilty to.

10.

(c) Had Defendant Driver Thomas consumed any intoxicating beverages, ingested any
medicines, whether legal or illegal, stimulants, depressants, chesntualls, rearifinand,
canabis or drugs: within the foity-tight (48) hour period cerdintely preceding
the occurrence of the vehicular incident which is the subject of this lawsuit?

(d) If so, state all substances, the time and place at which each’ was consumed, and the
amount on each occasion. |
| ll.
| Was Defendant Driver Thomas operating the tractor he was driving at the time of the
collision that is the subject of this lawsuit during any work or employment related duties including
any independent contractor relationship with Defendant Holmes Company or any other person or
entity? If so, explain the relationship and the parties to that relationship.

12.

14
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 26 of 49

State whether Defendant Driver Thomas has ever been arrested or charged with a crime, .
misdemeanor or felony, whether convicted or not, and if so, state the date and place of such arrest,
a description of the infraction of law for which the driver was arrested or charged as well as the
jurisdiction in which the charge occurred, and date of disposition.

| 13.

State the name and address of any individual or entity with any ownership or lease interest in
’- the work vehicle(s) (tractor trailer) driven by Defendant Driver Thomas on the date of the collision
referred to in the Complaint and describe the nature of the interest.

14.

State the following for all policies of liability insurance issued to Defendant Driver
Thomas, Defendant Holmes Company, or any other person or entity which may be used to satisfy
a verdict in this matter: (a) names of all insurers, (b) policy numbers, and (c) the limits of coverage
of each such policy. |

15.

Please identify all motor vehicle collisions and moving violations for Defendant Driver
Thomas prior to and subsequent to the incident referred to in the complaint, including the date of
. the event, the location, the jurisdiction and a description of the event.

16. }

Has Defendant Driver Thomas ever had a driver’s license suspended, canceled, or revoked?
Please state the name of the state of suspension, cancellation, or revocation for such license, the
date of such suspension, cancellation, or revocation, and the reason therefore.

17.

15
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 27 of 49

Was Defendant Driver Thomas using the phone at any time in any manner during the time
period of ten minutes before until 5 minutes after the collision at issue in this lawsuit?
18.
~ State the name and address of any individual or entity with any owneiship or lease interest in
the work vehicle (tractor trailer) operated by Defendant Driver Thomas on the date of the incident
- referred to in the Complaint and describe the nature of the interest.
19.
If any répairs or service were performed on/to the vehicle (tractor trailer) Defendant Driver
. Thomas was operating at the time of the subject accident within 120 days prior to, on the day of,
or within 120 days after the incident, please state all repairs/service performed and the name and
address of the person/company making all repairs.
20. .
Did Defendant Driver Thomas have any medical conditions that would inhibit the ability
to operate a motor vehicle (tractor trailer) including the requirement to wear prescription glasses?
2. |
Please state ‘in detail the factual basis of each defense you have raised in your answer.
22.

Please describe each audio or video recording, photograph or other representation or
depiction of the accident at issue in this lawsuit (including the collision, the vehicles, the drivers).
Zo

Please list each document and tangible piece of evidence which Defendant contends are
relevant evidence in support of Defendants’ defenses or Plaintiff's claims in this action, including,

but not limited to, the name or other means of identifying each such document, a description of

16
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 28 of 49

the nature and content of each document, as well as the name, address and telephone number of

the person who has custody of each document.
24.
If Defendant Holmes Company have ever oe party toa civil suit, please slater
(e) whether Defendant Holmes Company was a plaintiff or defendant:
(f) the Court in which said suit was filed,
" (g) the nature of the asfion: a

(h) the outcome of the action, that is, whether it was settled, tried, or dismissed; and, the
name and address of your attorney and the opposing party’ s attorney.
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 29 of 49

PLAINTIFEF’S FIRST SET OF INTERROGATORIES TO
DEFENDANT SENTRY SELECT INSURANCE COMPANY ONLY

od,
State the: following for all policies of liability insurance issued to Defendant Driver
Thomas, Defendant Holmes Company, or any other person or entity which may be used to sattafy
a verdict in this matter: (a) Giants of all insurers, (b) policy numbers, and (c) the limits of coverage

of each such policy.

hs

Please state in detail the factual basis of each defense you have raised in your answer.

18
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 30 of 49

PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

OF DOCUMENTS & TANGIBLE ITEMS TO ALL DEFENDANTS
| Definitions and Instructions
. 1. “Produce” means to make every.document or item available for inspection copying
by Plaintiff's attomeys'at Plaintiff's attorneys’ office. In lieu of making every document or item /
available for inspection and copying by Plaintiff's attorneys at Plaintiff's attomeys’ office, this
party may mail/produce a copy of all the requested documents and items so that Plaintiff’s counsel
receive them by the 33 day after service of these requests.

2. "Document" means any/each non-identical copy, whether non-identical because of
| alterations, attachments, blanks, comments, notes, underlining or otherwise of any writing or
record whether it be a letter, memoranda, report, personal or handwritten note, tape, recording,
photograph, photocopy, telegram, telex, transcript or oftierwise in the possession, cutesy or
control of you and/or your representative, wherever the document is located, however produced or
| répraduced, whether draft or final version.

3. In lieu of producing the original documents, copies may be produced, provided that
an affidavit, attesting that the document identified as copies are genuine and authentic copies of
original documents is executed by a person with a capacity and authorization to do so. |

4. If any information requested herein is claimed to be privileged or otherwise
protected from discovery, you are requested to identify in writing, with particularity, the basis for
each such claim and in the case of any documents not produced, to identify in writing:

- (a) its author;
(b) the day of its creation; ;
(c) the name, positions, and capacities of all persons to whom it was
addressed or. by whom it has been seen;
(d) its general nature and subject matter;

(e) its present location and custodian; and
¢9) the basis upon which it is-claimed to be privileged or otherwise protected

from discovery.
19
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 31 of 49

5. This Request for Production of Documents & Tangible fesne shall cover any
document or item coming inte being on or prior to the date upon which documents are produced
pursuant to this request.

6. You are requested to supplement your response to this Request for Production of
Documents by immediately producing for inspection and copying any documents or items
requested below that come into your possession or subject to your control after the date on which

documents are produced pursuant to this request.

Requests for Production of Documents & Tangible Items to all Defendants
1.

(A) Please produce copies of any incident reports generated by any and all Defendants as

a result of the incident referred to in te Complaint.
(B) If Defendants raise any y objection to the production of any incident report, please
produce a privilege log disclosing the title/name of each report, the date each report was created,

all authors of the report, and basis of the objection so Plaintiff can evaluate the objection and
whether any such statements were taken within the usual course of business instead of purely for

litigation purposes.

2
Please produce copies of any insurance policies which may provide coverage or indemnity

for the incident in question.

Note: this request specifically includes, but is not limited to, production of all the
entire policy or contract, Declaration Pages, schedules of vehicles, .and

endorsements.

3.
(A) Please produce copies of any and all photographs, audio-recordings, video-recordings
or other similar documents or recordings that record or depict the vehicles.(including all cars,

trucks, tractors, trailers, dolleys, etc.) involved in the accident at issue, the persons involved in the

20
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 32 of 49

accident, any eyewitnesses, any responding law enforcement personnel, any responding medical
providers, and any other aspect of the subject incident.
Note: this request specifically requests color copies of any and all photographs of
- the vehicles involved in the accident (i.e. depicting any and all property damage) —
as well as injuries to all drivers and passengers involved in the accident.
(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.
4,
(A) The original of each and every written statement or a transcript of a recorded statement
which covers the facts and/or circumstances of the incident which gives rise to the Complaint in

this action.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log'disclosing each item, when each item was created or prepared, the names ~
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.
5.
(A) A copy of each and every written or recorded statement or report concerning the
investigation of each witness expected to be called as an — upon the trial of this matter.
(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and:basis of the objection so Plaintiff can evaluate the

objection.
6,
(A) Any and all statements (written or recorded), documents or tangible items taken from
or prepared by any and all persons, including any party, who, to your knowledge, information or

belief: (a) Was an eyewitness to the incident complained of in this action; (b) Who arrived at the

scene of the occurrence complained of in this action immediately or shortly after its occurrence;

21
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 33 of 49

(c) Has any knowledge of any fact or circumstance upon which this Complaint or your defense. is
J

based including knowledge of the circumstances of the collision and Plaintiff's injuries/damages;

~

(d) has conducted any investigation relating to the incident complained of or related to the

background, employment, medical history or activities of Plaintiff.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection.so Plaintiff can evaluate the

objection.
7.

(A) Any and all cellular phone records for the date of the collision that is the subject of this |
lawsuit for all cell phones used by Defendant Driver Thomas during the 12 hours before and 12
hours after the collision referenced in the complaint.

=) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
‘of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.

8.
(A) All documents reviewed by, provided to, received from, or exchanged with any witness
expected to be called by Defendants to testify as an expert at the trial in this lawsuit including, but

not limited to the following items:

(a) All documents and tangible items provided by Defendants, defense counsel, or
defense counsel’s staff, or Defendants’ insurer to each expert or their staff;

_(b) All documents and tangible items provided by each expert or their staff to
Defendants, defense counsel, defense counsel’s staff, or Defendants’ insurer;

(c) All correspondence, letters, faxes, email, and attachments sent by Defendants,
defense counsel, defense counsel’s staff, or Defendants’ insurer to each exert;

22
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 34 of 49

(d) All correspondence, letters, faxes, email, and attachments sent by each expert or
their staff to Defendants, defense counsel, defense counsel’s staff, or Defendants’

insurer to each exert;

‘(e) All invoices and retainer requests disclosing requests for payment by each expert
to Defendants, defense counsel, defense counsel’s staff, or Defendants” insurer for

any and all work in this case;

(i) All checks, receipts, or other proof of payment showing how much each expert or
his/her company/employer has been compensated in this case to date.

(j) The complete file of each expert or his/her business/practice/firm.

(k) Each and every report (including final versions and all drafts) prepared by each
expert. :

()) All notes prepared or recorded by each expert or anyone assisting them in this
matter.

Note: if Defendants later disclose an expert witness, Defendant(s) shall supplement
his/her/their response to this request at the same time as the expert disclosure to
provide the requested materials for inspection/copying or produce copies.

(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.
9.

The curriculum vitae or resume of any witness expected to be called as an expert at trial
in the within action. .

10.

Copies of Defendant Driver Thomas’ driver’s licenses (front and back) for all driver’s
licenses held by him/her for the five (5) year before the collision at issue in this lawsuit though the
present.

11.

(A) Any and all documents, drawings, audio recordings, videotapes, photographs or other

representation or depiction pertaining to collision at issue, the accident scene, Plaintiff, Defendant

23
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 35 of 49

Driver Thomas , Defendant Holmes Company, or any vehicles involved in the subject collision
(i.e. all cars, trucks, tractors, trailers, dollies, etc.).
(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.

12.

(A) Any and all documents document and tangible piece of evidence which Defendants
contend are relevant evidence in support of Defendants’ defenses or Plaintiff's claims in this
action, including, but not limited to, the name or other means of identifying each such document, :
a description of the nature and content of each document, as well as the name, address and.
telephone number of the person wih has custody of each document. °

| (B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.
13.

(A) Copies. of any documents you or your attorneys receive in response to third-party
document requests served in this civil action including, but not limited to, any and all requests for
the following:

(1) Plaintiff's medical records, bills, films (MRI, CT, x-rays, ete.),
(2) Plaintiff's insurance records,
(3) Plaintiff's employment records,

(4) Plaintiff's insurance records,

(5) Plaintiff's cell phone records, etc.

24
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 36 of 49

(6) Defendant driver’s medical records, bills, films (MRI, CT, x-rays, etc.) with respect to
medical care Defendant received as a result of the subject accident.

(7) Defendant driver’s cell phone secords, etc.

(8) The following records prepared or maintairied by any Police Department, Sherriff’s
Department, Georgia State Patrol, Fire Department, EMS/EMT/paramedics, or any other third
party entities or agencies pertaining to the accident referred to in the complaint:

(a) . All Georgia Uniform Motor Vehicle Accident Report or Georgia Motor Vehicle
Crash Report (initial, supplemental and amended versions)

(b) _ all initial, supplemental, and amended reports;
(c) all photographs; -
(c) all audiclviden recordings including dash-cam and-body-cam recordings;
-(d) all hand-written or computer-generated notes and statements;

(e) all dispatch records;

, (f) all 911 records-and recordings:
(g) all CAD detail reports; and
(h) all citations issued to all drivers involved in the accident.
(B) If Defendants raise any objection to the production of any requested items, please

. , produce a privilege log disclosing each item, when each item was created or prepared, the
names of all people who created each item, and basis of the objection so Plaintiff can:

evaluate the objection.
| 14,
(A) Records reflecting the disposition of all citations issued to all drivers involved in the
accident at issue with respect to the subject accident.
| (B) If Defendants raise any objection to the production of any requested items, please -

produce a privilege log disclosing each item, when each item was created or prepared, the names
of all people who created each item, and basis of the objection so Plaintiff can evaluate the

objection.

25
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 37 of 49

5. «

"A copy of all estimates, photographs, invoices, — orders, repair orders, and receipts with
respect to property carnage, repairs, and service to the vehicle (tractor trailer) Defendant Driver
Thomas was driving ‘at the time of the sujet accident for property damage sustained in the
subject accident.

16.

(A) A copy of medical records for medical care Defendant Driver Thomas received as a
result of the accident at issue (i.e. EMS, ER, etc.). | |

(B) If Diedenatanits rate any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection. |

17.

All of Defendants’ surance policies, Insurance’agreements, and any subordinate insuring
agreements, which in any. way, may provide Defendant Driver Thomas. or Defendant Holmes
Company with insurance caverner in the event of an award for Plaintiff of any sum by the way of
judgment in this case.

18.

(A) Any written, recorded, or transcribed statement made by anyone concerning this action
or the subject of this matter action including all parties, any passengers, eyewitnesses, or
investigating personnel.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of

the objection so Plaintiff can evaluate the objection.

19.

26
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 38 of 49

(A) All documents which you and/or your representatives rely upon to demonstrate
‘and support any facts relevant to this litigation and any documents which you and/or your

representatives contend are relevant to the issues involved in this action. |

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

20.
(A) All documents referred to in Defendants’ Answers to Plaintiff's [nterrogatories.
(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection. ,

21.
(A) All documents reflecting Defendant Driver Thomas’ past driving history.
(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

22...

(A) The cell phone records of Defendant Driver Thomas or any other person/entity reflecting
the ten (10) minute period immediately befure sig auibies collision through the ten (10) minute
period immediately after the subject collision at issue in this lawsuit including disclosure of all
incoming and outgoing calls, texts and messages for the date of the incident.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

23.

(A) Copies of arly lease, contract, or other agreement regarding the vehicle driven by

Defendant Driver Thomas’ on the day of the collision referred to in the complaint.

27
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 39 of 49

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection s so Plaintiff can evaluate the objection. -

24.

(A) Copies of the bill of sale, title, registration, and any other documents relating to the

ownership of the vehicle driven by Defendant Driver Thomas on the date of the incident referred to

in the complaint.
. - (B) If Defendants raise any objection to the production of any requested items, please
‘produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.
25.

(A) Copies of the personnel file, employment contract, or any other documents regarding the
_ employment status of Defendant Driver Thomas. °

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

26.

(A) Copies of work invoices, receipts, dispatch records, time cards and other documents
showirig any work performed by Defendant Driver Thomas for the day of the incident and the eight-
day period preceding the incident referred to in the complaint. ° .

(B) If Defendants raise any objection to the production of any requested items, please
. produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

27.

(A) Copies of trip reports or aispateh records in regard Defendant Driver Thomas for the

day of the indtdeiit and for the two-week period preceding the incident referred to in the complet

'

28
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 40 of 49

(B) If Defendants raise any objection to the production of any requested items, please
. produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiffcan evaluate the objection:
28.

(A) Copies of all driver’s logs and time cards for Defendant Driver Thomas for the six-month
period preceding the incident referred to in the complaint.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege‘log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection. .

29.

. (A) Copies of all weight tickets, check stubs, fuel receipts, invoices, and other records for any
expenses incurred by Defendant Driver Thomas’ for the six-month period preceding the incident
referred to in the complaint.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis.of --
the piyeetices so Plaintiff can evaluate the objection.

30.

(A) Copies of all-daily, monthly, and annual inspection reports, and any other inspection
reports concerning the vehicle operated by Defendant Driver Thomas on the day of the incident
referred to in the complaint for the one-year ‘period preceding this incident and the six-month period
following this incident.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and-basis of

the objection so Plaintiff can evaluate the objection.

31.

29
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 41 of 49

_- (A) copies of all maintenance records, repair invoices and work orders concerning the work

vehicle driven by Defendant Driver Thomas on the day of the incident referred to in the complaint

for the one-year period preceding this incident and the six-month period following this incident

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection. .

- 32.

A copy of Defendant Driver Thomas’ qualification file, including but not limited to:

@

(b)
(c)
@
©
@
(g)
(h)
@)

@)
(k)
(I)

(m)
(n)

Application for employment;

Copy of his license;

Driver’s certification of prior motor vehicle accidents;

Driver’s certification of prior violations of motor vehicle laws;
Driver’s prior employment history;

Carrier’s inquiry into his driving record;

Carrier’s inquiry into his employment record;

Documents regarding carrier’s annual review of his driving record; ©
Response of each state atenty to carrier’s annual inquiry concerning his driving
_— |
Certification of driver’s road test;

Medical examiners certificate;

Statement setting forth in detail any denial, revocation, or suspension of any license,

permit or privilege to operate a motor vehicle;

Training certificates and training documents;

Drug testing records; and

30
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 42 of 49

(0) Any other documents.
(B) If Defendants raise any objection to the production of any requested items, please produce _
a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.
33.

(A) Copies of any ‘printouts, records, correspondence, memoranda, or other documents
conceming post-accident alcohol and controlled substance testing of Defendant Driver Thomas
following the subject collision with respect to the subject collision including all documents/items that
disclose (a) The date of testing; (b) who performed the test (person and entity), (c) Where the test
was performed; and (d) results of the tests.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

34.

(A) Copies of any driver manuals, guidelines, rules or regulations issued to Defendant Driver
Thomas by Defendant Holmes Company at any time from when Defendant Driver Thomas first
started driving for Defendant Holmes Company through the present time.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

35.

(A) Copies of any reports, memoranda, notes, logs or other documents evidencing any
complaints about Defendant Driver Thomas .

(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

31
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 43 of 49

36.
(A) Copies of all safety manuals, brochures, handouts, literature, or other written documents
pertaining to safety provided to Defendant Driver Thomas by Defendant Holmes Company.
37.

« Copies of any printouts, records or documents produced by any device identified in
response to the preceding interrogatory for the day of the incident and the sle-muonith period prior to
the incident referred to in the complaint.

(B) If Defendants raise any objection to the production of any requested items, please

produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

38.
" (A) Copies of any documents regarding any training received by Defendant Driver Thomas

from any and all sources including, but not limited to, Defendant Holmes Company at any and all

times up to the present.

_ @) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
.the objection so Plaintiff can evaluate the objection.

59;

(A) Copies of any and all permits or licenses regarding the work vehicle driven by the

Defendant Driver at the time of the incident referred to in the complaint.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

40.

(A) Documents referencing all payroll information concerning Defendant Driver Thomas for

the six (6) months prior to and the two (2) months subsequent to said collision and his pay check for

32
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 44 of 49

the time period covering the date of the collision. (Plaintiff's counsel is not requesting copies of pay
checks unless otherwise specified, but requests the individualized payroll record ledger sheet

indicating the amount of pay, miles driven for the time periods specified, etc.).

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

41.

(A) Copies of all records and documents Defendant Holmes Company obtained on their own
or through any other person or business entity at any time up through the present which contain
information concerning the driving history, driving infractions, and motor vehicle records of

Defendant Driver Thomas.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

42.

(A) All motor vehicle records or reports of any kind received from any private corporation or
service, or any governmental entity relative to the driving history, driving record, and driving
infractions of Defendant Driver Thomas ince the commencement of said driver’s employment (or
when Defendant Driver Thomas fist started driving for Defendant Holmes Company in any capacity

— whichever is earlier) up and through the date of trial.

(B) If Defendants raise any objection to the production of any requested items, please
produce a privilege log disclosing each medical provider/facility, dates of treatment, and basis of
the objection so Plaintiff can evaluate the objection.

43.
A privilege log for each and every document and tangible item that is in the possession,
- custody or control of any of the Defendants but has not been produced on grounds of privilege that

33
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 45 of 49

state the following for each document or tangible item: (a) the date each document or item was

generated, (b) the person generating each document or item, (c) the present custodian of each

document or item, and (d) a description of each document or item.

Filed this 15" day of April, 2021 and to be served by the process server with the Summons

and Complaint.

31 Lenox Pointe, N.E. ,

Atlanta, Georgia 30324
Tel: (404) 853-8964
Fax: (678) 904-6391

THE BROSNAHAN LAW FIRM

/si Kermeth Brownahow
Kenneth W. Brosnahan, Esq.
Georgia State Bar No. 086345
E-mail: kwb@brosnahan-law.com
Linda G. Carpenter, Esq. ,
Georgia State Bar No. 111285
E-mail: 1gc@brosnahan-law.com
Sharon L. Neal, Esq.

Georgia State Bar No. 536060
E-mail: sharon@brosnahan-law.com
Attorneys for Plaintiff

34
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 46 of 49

Be tk re ek

CLERK OF STATE COUR
GWINNETT COUNTY, GEORGIA
21-C-02961-S1

4/23/2021 11:35 AN
TIANA P. GARNER, CLERF

AFFIDAVIT OF SERVICE

State of Georgia County of Gwinnett State Court

Case Number: 21-C-02961-S1

Plaintiff:

KHAI NGUYEN
vs.

Defendant:

DONEL WALKER THOMAS, HOLMES COMPANY OF JACKSON, INC., AND SENTRY
SELECT INSURANCE COMPANY

For:

Sharon Neal

The Brosnahan Law Firm
31 Lenox Pointe, N.E.
Atlanta, GA 30324

Received by Absolute Reporting, LLC to be served on Sentry Select Insurance Company, registered agent CT Corporation
System, 289 S. Culver Street, Lawrenceville, GA 30046

|, Christopher Todd Horton, being duly sworn, depose and say that on the16th day of April, 2021 at 2:50 pm, I:

served Sentry Select Insurance Company by delivering a true copy of the SUMMONS; COMPLAINT FOR PERSONAL INJURY;
PLAINTIFF'S FIRST REQUESTS FOR ADMISSION, INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS TO DEFENDANTS; PLAINTIFF’S COUNSEL'S NOTICE OF LEAVES OF ABSENCE; GENERAL CIVIL AND
DOMESTIC RELATIONS CASE FILING INFORMATION FORM with the date and hour of service endorsed thereon by me, to:
Jane Richardson as Registered Agentat the address of: registered agent CT Corporation System, 289 S, Culver Street,
Lawrenceville, GA 30046.

Description of Person Served: Age: 60, Sex: F, Race/Skin Color: White, Height: 5'6", Weight: 170, Hair: Grey, Glasses: Y

| certify that | am a citizen of the United States over the age of 18 and have no interest in the above-styled case.

 

fe \
essere ee

 

 

wef CChristopher-Todd Horton
e on the day of cess Server ID No. CPS243

by the affiant who is personally

  
 

Absolute Reporting, LLC
930 New Hope Road
Suite 11-110
Lawrenceville, GA 30045
(770) 736-8106

Our Job Serial Number: RBC-2021000519
Ref: NGUYEN

Copyright © 1892-2021 Database Services, Inc, - Process Server's Toolbox V8.2a

wens Lene Seinen UA
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 47 of 49) 25 worrice- mp

15371 CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA

21-C-02961-S1

Control Number {SMR 2 GaRAER CLERIC

STATE OF GEORGIA
Secretary of State

Corporations Division
313 West Tower
2 Martin Luther King, Jr. Dr.
Atlanta, Georgia 30334-1530

CERTIFICATE OF ACKNOWLEDGEMENT

I, Brad Raffensperger, Secretary of State of the State of Georgia, do hereby certify under the seal of my
office that copies of legal documents regarding service of process upon:

Donel Walker Thomas

have been filed with the Secretary of State on 04/27/2021 pursuant to O.C.G.A. § 40-12-2 relating to the
following matter:

Case: Khai Nguyen v. Donel Walker Thomas
Court: Gwinnett County State Court
Civil Action No.: 21-C-02961-S1

Witness my hand and official seal in the City of Atlanta
and the State of Georgia on 05/04/2021.

Beck Rafeerapsger

Brad Raffensperger
Secretary of State

 

Copy from re:SearchGA
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 48 of 49
E-FILED IN OFFICE - MB

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA

21-C-02961-S1

15371 5/4/2021 10:55 AM
TIANA P. GARNER, CLERK

AFFIDAVIT OF SERVICE

State of Georgia County of Gwinnett State Court

Case Number: 21-C-02961-S1

Plaintiff:

Khai Nguyen

vs.

Defendants:

Donel Walker Thomas, Holmes Company of Jackson, Inc, and Sentry
Select Insurance Company

For: Kenneth Brosnahan
The Brosnahan Law Firm

Received by Ancillary Legal Corporation on the 16th day of April, 2021 at 12:16 pm to be served on Holmes
Company of Jackson, Inc c/o Jackson Holmes as the Registered and Managing Agent or Martin
Holmes as Managing Agent, 535 Old Highway 49 South, Richland, MS 392181, CHARLES
LINDSAY __, being duly sworn, depose and say that on the 21 day of APRIL 2021 at
_824a.m., executed service by delivering a true copy of the Summons, Complaint for Personal Injury,
Plaintiff's First Requests for Admission, Interrogatories, and Requests for Production of Documents
to Defendants, Plaintiff's Counsel's Notice of Leaves of Absence, General Civil and Domestic
Relations Case Filing Information Form, in accordance with state statutes in the manner marked below:

 

 

 

 

() PUBLIC AGENCY: By serving as
of the within-named agency.

() SUBSTITUTE SERVICE: By serving as

UW CORPORATE SERVICE: By serving MARTIN HOLMES as

 

MANAGING AGENT; DIRECTOR/PRESIDENT

() OTHER SERVICE: As described in the Comments below by serving
as

() NON SERVICE: For the reason detailed in the Comments below.

Age6S__SEX M ¥ RaceW Height 6'4" Weight 220 Hair GRAY___ Glasses Y N

COMMENTS:

 

 

 

 

Copy from re:SearchGA
Case 1:21-cv-02008-CAP Document 1-1 Filed 05/11/21 Page 49 of 49

AFFIDAVIT OF SERVICE For 21-C-02961-S1

| certify that | have no interest in the above action, am of legal age and have proper authority in the
jurisdiction in which this service was made.

 

 

 

P| of
7 .
( pas
Subscribed Lands) orn to before me on the < af PROCESS SERVER #
day of 4 O ., 2221 by the affiant who Appointed in accordance with State Statutes
is person ily kno’ ie
Ancillary Legal Corporation
: L 2900 Chamblee Tucker Road
ROpARY PU BIC +7 Building 13
ic eusteny, Atlanta, GA 30341
“O! ¢ MISS)<, (404) 459-8006
Fy, eeeee nantes Svs i
H&e x pRy PUBS 45%
’ TO 4 Our Job Serial Number: 2021004417
fhe’ .

Ref: Nguyen

3
Seay nat®

2

*

a

% *commissictntnnhr enon 2021 Database Services, Inc. - Process Server's Toolbox V8.1t
e
%

bi arch 1, 2028 AY

Pe

Wiig COO

®*eeaqun8®

Copy from re:SearchGA
